United States District Court
Northern District of California

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

MARY BETH MONTERA,
Plaintiff,

Case No. 16-cv-06980-RS

v. VERDICT FORM

PREMIER NUTRITION CORPORATION,
Defendant.

 

 

 

 

VERDICT FORM

 
United States District Court
Northern District of California

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As you have been instructed, in order to establish a violation of New York General
Business Law (“GBL”) § 349, each of the following elements must be established by a
preponderance of evidence: (1) that Premier Nutrition engaged in an act or practice that is
deceptive or misleading in a material way; and (2) that Ms. Montera and the class suffered injury
as a result.

Do you find that Plaintiff established each of the above elements by a preponderance of the

evidence, and therefore that Premier Nutrition engaged in materially deceptive business practices?

Yes x No

Please proceed to Question II on page 3.

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As you have been instructed, in order to establish a violation of GBL § 350, each of the
following elements must be established by a preponderance of evidence: (1) that Premier Nutrition
engaged in advertising that was deceptive or misleading in a material way; and (2) that Ms.
Montera and the class suffered injury as a result.

Do you find that Plaintiff established each of the above elements by a preponderance of the

evidence, and therefore that Premier Nutrition engaged in false advertising?

Yes x No

If you answer YES to either or both of Question I or Question I, then proceed to Question III on page
4.

If you answered NO to both Question I and Question II, then proceed to the signature line on page 5.

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Northern District of California

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If you have found, by a preponderance of the evidence, that Premier Nutrition violated
GBL § 349 or GBL § 350 by answering "YES" to Question I or Question II above, you must
determine how much to award Plaintiff and the class in money damages.

As part of this determination, you are also asked to determine the number of Joint Juice
units sold in the state of New York between December 5, 2013 and December 28, 2021, inclusive

of those dates.

Total Number of Units Sold: bl, a Y A

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Northern District of California

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Please ensure that you have complied with the instructions in this form and answered all questions
that these instructions directed you to complete. Then please have the foreperson sign and date this
form below. After signing the form, please notify the Courtroom Deputy that a verdict has been

reached.

Aeon P Chey

Signature of Foreperson

Date: é/1}aoaa

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